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19                               UNITED STATES DISTRICT COURT
20                                      DISTRICT OF NEVADA
21   MUSTAFA YOUSIF and SHARONE WALKER )                  CASE NO. 2:16-cv-02941-RFB-NJK
     on behalf of themselves and all others similarly )
22   situated,                                        )   STIPULATION AND [PROPOSED]
                                                      )   ORDER FOR EXTENSION OF TIME
23                              Plaintiffs,               FOR PLAINTIFFS TO FILE REPLY
                                                      )
                                                      )   IN SUPPORT OF PLAINTIFFS’
24           v.                                           MOTION FOR PROTECTIVE
                                                      )   ORDER
25   THE VENETIAN CASINO RESORT, LLC;                 )
     LAS VEGAS SANDS, CORP and DOES 1                 )              (First Request)
26   through 50, inclusive,                           )
                                                      )
27                              Defendants.           )
                                                      )
28

                                              1
      STIPULATION AND [PROPOSED] ORDER FOR EOT OF PLAINTIFFS’ REPLY I/S/O PROTECTIVE ORDER
     Case 2:16-cv-02941-RFB-NJK Document 166 Filed 04/07/20 Page 2 of 2



 1            Pursuant to Local Rules (“LR”) IA 6-1 Plaintiffs MUSTAFA YOUSIF and SHARONE

 2   WALKER (“Plaintiffs”), by and through their counsel of record THIERMAN BUCK, LLP, and

 3   Defendant THE VENETIAN CASINO RESORT, LLC (“Defendant”), by and through its counsel

 4   of record DLA PIPER, LLC, and OGLETREE, DEAKINS, NASH, SMOAK, & STEWART, P.C.,

 5   hereby request and stipulate for a seven-calendar day extension of time, up to an including Friday,
     April 17, 2020, to submit Plaintiffs’ Reply in support of Plaintiffs’ Motion for Protective Order.
 6
     This is Plaintiffs’ first request for an extension of time for Plaintiffs’ to file their Reply.
 7
              Plaintiffs request this extension of time due to issues related to the novel coronavirus
 8
     (COVID-19). This Stipulation is made in good faith and not for the purposes of undue burden or
 9
     delay.
10
     IT IS SO STIPULATED:
11

12    Dated this 7 day of April, 2020.                     Dated this 7 day of April 2020.
      THIERMAN BUCK, LLP                                   DLA PIPER LLP
13
      /s/ leah L. Jones                                    /s/ Mary C. Dollarhide
14    Mark R. Thierman, Esq., Bar No. 8285                 Mary C. Dollarhide, admitted pro hac vice
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20
                                                           Attorneys for Defendant
21

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23
                                                  IT IS SO ORDERED:
24

25            DATED:                                 , 2020
26                                                   ______________________________________
                                                     UNITED STATES DISTRICT COURT JUDGE
27

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                                                  2
               JOINT STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULING
